                  Case 1:03-cr-05237-AWI Document 158 Filed 05/03/05 Page 1 of 3



      1   ANTHONY P. CAPOZZI, CSBN 068525
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      4   E-mail: capozzilaw@aol.com
      5   Attorney for Defendant,
          RAUL ENCIZO
      6

      7

      8                       IN THE UNITED STATES DISTRICT COURT
      9                     EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                        * * * * *
     11

     12                                              ) CASE NO.: CR-F-03-5237 OWW
          UNITED STATES OF AMERICA
                                                     )
     13                Plaintiff,                    ) REQUEST FOR A 30-DAY EXTENSION
                                                     ) OF TIME IN WHICH TO REPORT TO
     14   v.                                         ) THE     FEDERAL      CORRECTIONAL
                                                     ) INSTITUTION IN TAFT, CALIFORNIA
     15                                              ) AND PROPOSED ORDER THEREIN
          RAUL ENCIZO,                               )
     16                                              )
                       Defendant.
                                                     )
     17

     18
                Raul   Encizo,     by    and   through      his   appointed     legal    counsel,
     19
          Anthony    P.   Capozzi,      does   hereby      respectfully      request    a   30-day
     20
          extension of time in which to report to the Federal Correctional
     21
          Institution in Taft, California.                 The Defendant is scheduled to
     22
          self-surrender on May 9, 2005 at 2:00 p.m.
     23

     24
                This request is made pursuant to the need to complete dental
     25
          treatment and payment on Mr. Encizo’s daughter.                        Mr. Encizo is
     26
          requesting an opportunity to continue working for at least one
     27

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                                                  Page 1
                                                                  Request for Extension to Surrender
                                                                                Case No. 03-5237 OWW


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                   Case 1:03-cr-05237-AWI Document 158 Filed 05/03/05 Page 2 of 3



      1   month in order to pay for his daughter’s dental work before he
      2   leaves to begin his sentence.
      3                                          Respectfully submitted,
      4

      5   Dated:     April 26, 2005
      6                                               /s/ Anthony P. Capozzi
                                                 Anthony P. Capozzi,
      7
                                                 Attorney for Raul Encizo
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                                                  Page 2
                                                               Request for Extension to Surrender
                                                                             Case No. 03-5237 OWW


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                   Case 1:03-cr-05237-AWI Document 158 Filed 05/03/05 Page 3 of 3


                                                  ORDER
      1

      2         IT    IS   SO   ORDERED.       Good    cause    having    been    shown,     the

      3   Defendant, Raul Encizo, is hereby granted an extension of time to
      4
          report to the Federal Correctional Institution in Taft, California
      5
          and his new date to report shall be June 13, 2005 by 2:00 p.m.
      6
          Dated:     April 29, 2005
      7
                                                       /s/ OLIVER W. WANGER
      8
                                                       Honorable Oliver W. Wanger
      9                                                U.S. District Court Judge
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                                                  Page 3
                                                               Request for Extension to Surrender
                                                                             Case No. 03-5237 OWW


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